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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

AMIR KAKI, M.D., an individual,
and MAHIR ELDER, M.D., an individual,

      Plaintiffs,                                       Case No.: 20-cv-10004
                                                        Hon. Arthur J. Tarnow
vs.                                                     Mag. David R. Grand

TENET HEALTHCARE CORPORATION,
et al.

      Defendants.
                                               /

             STIPULATION REGARDING SETTLMENT FUNDS

      The parties to this Stipulation Regarding Settlement Funds, by and through

their respective counsel, stipulate to the following:

      1.     Plaintiff, Mahir Elder, M.D., and the Defendants have reached a

resolution regarding Dr. Elder’s share of damages and pro rata costs pursuant to

the Arbitration Award.

      2.     Although Elder and Defendants have reached a resolution, and Elder

agrees that the Arbitration Award has been satisfied by Defendants, to date no

funds have been disbursed from Defendants to Elder.

      3.     Elder and Defendants agree that Defendant, Tenet Healthcare

Corporation, will hold and escrow in an amount exceeding the total amount of the
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awarded costs ($110,673.01) plus thirty-eight percent (38%) of the settlement

amount.

      4.     Elder and Defendants agree that the amount escrowed by Tenet will

not be disbursed until the fee dispute between Elder and Deborah Gordon Law has

been resolved or a court orders otherwise.


Dated: March 22, 2021                  /s/ Mohammed Abdrabboh (with permission)
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Dated: March 22, 2021                  /s/ Charles N. Ash, Jr.
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                         CERTIFICATE OF SERVICE

       I hereby certify that on March 22, 2021, I electronically filed the foregoing
pleading with the Clerk of the Court using the ECF filing system, which will send
notification of such filing to all ECF participants.

                                       /s/ Charles N. Ash, Jr.
